Case 2:25-cv-00197-JCZ-DPC   Document 227-16   Filed 06/17/25   Page 1 of 2




         EXHIBIT
Case 2:25-cv-00197-JCZ-DPC       Document 227-16   Filed 06/17/25   Page 2 of 2
                                                    ■ii   ^


         < Details          Inventory Record                  PDF


          RR Milepost (prefix)
          N/A


          RR Milepost
          0003.31



          RR Milepost (suffix)
          N/A


          Line Segment
          TNA00331



          Nearest RR Timetable Station
          W BRIDGE JCT



          Parent Railroad
          N/A


          Crossing Owner
          N/A


          Crossing Type
          Public



          Crossing Purpose
          Highway


          Crossing Position
          At Grade



          Public Access
          N/A


          Type of Train
          N/A


          Average Passenger Train Count Per Day
          N/A


          Type of Land Use
          Commercial



          Ls therp and AdiaTenTTm^sJno'vAfT^
